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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION
RALPH S. JANVEY, IN HIS CAPACITY AS         §
COURT-APPOINTED RECEIVER FOR THE            §
STANFORD INTERNATIONAL BANK, LTD.,          §
ET AL.,                                     §
                                            §
                        Plaintiff,          §
                                            §
v.                                          §      Case No. 3:15-CV-0401-N-BQ
                                            §
GMAG LLC, MAGNESS SECURITIES LLC,           §
GARY D. MAGNESS, and MANGO FIVE             §
FAMILY, INC., IN ITS CAPACITY AS TRUSTEE §
FOR THE GARY D. MAGNESS IRREVOCABLE §
TRUST,                                      §
                                            §
                        Defendants.         §
 ______________________________________________________________________________
    RECEIVER’S ALTERNATIVE MOTION FOR NEW TRIAL AND FURTHER
 ALTERNATIVE MOTION TO AMEND OR CORRECT THE JUDGMENT AND BRIEF
                           IN SUPPORT
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                As set forth in the Receiver’s Renewed Motion for Entry of Judgment as Matter

 of Law and Brief in Support (the “Renewed Motion”) filed on this date and in the Receiver’s

 prior briefing as referenced therein, the Receiver is entitled to entry of judgment as a matter of

 law on his fraudulent-transfer claim. If the Court denies the relief requested in the Renewed

 Motion, however, the Receiver requests that the Court grant a new trial to remedy several

 fundamental trial errors.

                The trial of the Receiver’s claims against the Magness Defendants was

 fundamentally flawed in a number of ways. First and foremost, the Court improperly framed the

 good-faith question by limiting the jury’s focus to the very narrow question of whether the

 Magness Defendants knew or should have known that Stanford was engaged in a very specific

 type of financial fraud—a Ponzi scheme. That is plainly not the correct question, and there is no

 authority to support submitting the good faith issue in that form. The correct question, as this

 Court recognized in the Alguire case in December 2016, is whether the Magness Defendants

 knew or should have known of the fraudulent nature of the transfers.           The distinction is

 important because the evidence unquestionably would have supported a jury finding that the

 Magness Defendants knew or should have known of the fraudulent nature of their loan

 transactions with Stanford.     Further, the Court’s charge on the good faith question was

 unreasonably confusing because of its use of double negatives.

                Second, the Court erred by improperly admitting inadmissible evidence that was

 substantially prejudicial to the Receiver. For example, the Court erred by allowing numerous

 defense witnesses to speculate about Gary Magness’s state of mind. The error was substantial

 enough to warrant a new trial because the Court allowed numerous defense witnesses to offer

 improper testimony on the pivotal issue of good faith, in the form of speculative assertions that



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 Gary Magness, the central decision maker for all the Magness Defendants, did not have actual or

 inquiry notice of the Stanford fraud. The Court also erred in allowing the Magness Defendants to

 offer deposition testimony taken in other cases in which the Receiver had no reasonable

 opportunity or incentive to develop testimony relevant to this case. The Magness Defendants

 emphasized the testimony of these witnesses in their closing argument, highlighting the

 significance of the error in admitting the testimony.

                Third, the Court erred by refusing to allow the jury to consider the Receiver’s

 unjust enrichment claim despite there being sufficient evidence to support its submission.

                These errors, individually and cumulatively, caused substantial prejudice to the

 Receiver, and a new trial is appropriate to allow the Receiver’s claims to be fairly decided.

                Finally, and in the further alternative to the request for new trial, the Court must

 amend the judgment to reflect that the Receiver received a partial summary judgment that

 allowed him to recover approximately $8.5 million in net-winnings from the Magness

 Defendants. Not only have the Magness Defendants not disputed the Receiver’s entitlement to

 the $8.5 million award, but that judgment was affirmed by the Fifth Circuit and is therefore the

 law of the case. At a minimum, the final judgment must reflect that the Receiver is entitled to

 $8.5 million on his fraudulent transfer claims.

                                      PROCEDURAL HISTORY

                The Receiver incorporates by reference the procedural history of this case as set

 forth in his Renewed Motion.

                                         LEGAL STANDARD

                A movant may include an alternative or joint request for a new trial under Rule 59

 in a Rule 50(b) renewed motion for judgment as a matter of law. FED. R. CIV. P. 50(b). The

 court may grant a new trial “for any reason for which a new trial has heretofore been granted in

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 an action at law in federal court.” FED. R. CIV. P. 59(a)(1)(A). Those reasons include that the

 “verdict is against the weight of the evidence,” that “the trial was unfair, or [that] prejudicial

 error was committed in its course.” Jones v. Pate Rehab. Endeavors, Inc., No. 3:14-CV-2218-L,

 2017 WL 1832226, at *2 (N.D. Tex. May 5, 2017) (citing Smith v. Transworld Drilling Co., 773

 F.2d 610, 613 (5th Cir. 1985)) (footnote, citations, and internal quotations omitted). The Court’s

 exercise of discretion must ultimately be guided by “what is right and in the interests of justice.”

 Whiteman v. Pitrie, 220 F.2d 914, 919 (5th Cir. 1955).

                A court may grant a new trial for error in the jury instructions where the movant

 establishes that “(1) it made a proper and timely objection to the jury instructions, (2) those

 instructions were legally erroneous, (3) the errors had prejudicial effect, and (4) it requested

 alternative instructions that would have remedied the error.” Advanced Display Sys., Inc. v. Kent

 State Univ., 212 F.3d 1272, 1281 (Fed. Cir. 2000) (citations omitted). A court may grant a new

 trial for trial error, including erroneous admission of evidence, where the movant objected at trial

 and the error resulted in substantial prejudice to the movant. See Taylor v. Seton Healthcare, No.

 A–10–CV–650 AWA, 2012 WL 2396880, at *5 (W.D. Tex. June 22, 2012); Carson v. Polley,

 689 F.2d 562, 570 (5th Cir. 1982).

                A party may file a motion to alter or amend a judgment under Rule 59(e) within

 28 days of entry of the judgment. FED. R. CIV. P. 59(e). A court may alter or amend a judgment

 under Rule 59(e) to correct a clear error or prevent manifest injustice. See In re Benjamin Moore

 & Co., 318 F.3d 626, 629 (5th Cir. 2002). Under Rule 60(a), “[t]he court may correct a clerical

 mistake or a mistake arising from oversight or omission whenever one is found in a judgment,

 order, or other part of the record. FED. R. CIV. P. 60(a).




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                                             ARGUMENT

 I.     The jury charge erroneously based the question of good faith on notice “that
        Stanford was engaged in a Ponzi scheme.”

                In submitting the question of good faith to the jury, the Court’s instructions for

 Question No. 1 of the jury charge provided that “[t]he Magness Parties acted in good faith if they

 did not have actual notice or inquiry notice in October 2008 that Stanford was engaged in a

 Ponzi scheme.” [Doc. 256 at 7; see also Doc. 252 at ¶¶ 2-4 (objecting to instruction to Question

 No. 1).]

                The Court’s instruction was erroneous. The proper test is whether the Magness

 Defendants were “on inquiry of the fraudulent nature of an alleged transfer.” GE Capital

 Commercial, Inc. v. Worthington Nat’l Bank, 754 F.3d 297, 312 (5th Cir. 2014) (emphasis

 added); see COMM.    ON   PATTERN JURY CHARGES, STATE BAR          OF   TEX., TEXAS PATTERN JURY

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 (providing jury instruction based on notice of “whether the debtor had fraudulent intent”). These

 instructions are similarly erroneous under the Alguire Order, in which the Court stated that that

 “a transferee who has objective actual knowledge of the transferor’s fraudulent purpose cannot

 satisfy the good faith defense.” [Doc. 1465 in Alguire, Case No. 3:09-CV-0724, at 16 (emphasis

 added).] Further, neither party to the case requested an instruction narrowly framing the good

 faith questions with respect to whether the Magness Defendants were on notice of or could have

 discovered that Stanford was engaged in the specific type of criminal enterprise known

 colloquially as a “Ponzi scheme.” [Docs. 178, 185, 217]

                As the Court acknowledged, a Ponzi scheme is but one specific type of fraud.

 [Ex. G, Trial Tr. (Vol. 6) at 254:23-255:6, App. at 1348-49.] Consistent with that observation,

 the evidence that the Receiver elicited at trial was that a Ponzi scheme is “just a type of financial


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 fraud.” [Id. at 96:16-97:4, App. at 1189-90 (Van Tassel testimony).] The Court declined to

 instruct the jury according to the well-established legal standard, however, because it concluded,

 “I don’t think the evidence in this case supports anything other than a Ponzi scheme.” [Id. at

 254:23-255:6, App. at 1348-49.]

                Respectfully, the Court’s determination does not square with the evidence in the

 case, nor does it comport with law or logic. Unquestionably, Stanford was engaged in a Ponzi

 scheme. But to carry out that scheme, Stanford committed federal criminal offenses related to

 fraud—mail fraud and wire fraud—and his conduct certainly constituted common law civil fraud

 as well. There is simply no basis in the law to require the jury to determine whether the

 Defendants had actual or inquiry notice of the specific type of fraud scheme Stanford was

 orchestrating. No case authority in Texas, or the United States, stands for the proposition that

 good faith turns on whether the recipient of a fraudulent transfer knows or should know of the

 specific type of fraud scheme in which the debtor is engaged.

                Limiting the jury’s focus to the narrow question of “Ponzi scheme” is improper

 because it rendered irrelevant all other important evidence that would defeat good faith.

                The transfers were fraudulent, for example, because Stanford was unquestionably

 insolvent. [See Doc. 225, Joint Pretrial Order at 13 (“SIB was a Ponzi scheme and was insolvent

 from at least 1999 forward.”); Ex. F, Trial Tr. (Vol. 5) at 201:16-202:6, App. at 1010-11

 (Receiver testifying that Stanford had liabilities of $7.2 billion and less than $1 billion in

 assets).]

                And Stanford also told numerous lies about the financial health, stability, and

 liquidity of Stanford International Bank other than failing to disclose the fact that it was a Ponzi

 scheme. [See, e.g., Ex. F at 198:14-201:9, App. at 1007-10 (Receiver reviewing Stanford’s



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 marketing messages for the CD program and explaining that the marketing messages were false);

 Ex. G at 139:24-141:1, App. at 1233-35 (Receiver’s forensic accountant testifying that Stanford

 was failing to disclose to the public the hole in its balance sheet and instead emphasizing

 liquidity); id. at 146:6-15, App. at 1240 (Receiver’s forensic accountant testifying that balance

 sheet and liquidity misrepresentations continued in October 2008).]          A defendant who is on

 notice of the fact that a debtor is insolvent and in the midst of a liquidity crisis and is lying to

 cover up those financial problems, is on notice of the “fraudulent nature” of taking millions of

 dollars in “loans” from the debtor in such circumstances.         One cannot take millions of dollars

 from such a debtor in “good faith.” But under the Court’s very narrow formulation of the good-

 faith question, such evidence is rendered unimportant because telling lies to cover up insolvency

 or a liquidity crisis does not prove that Stanford was running a “Ponzi scheme.”

                The evidence at trial was that in a financial fraud, “there has been some kind of

 false statement, and a company has to make that false statement because they’re covering up a

 lie, either that there’s assets that don’t exist, there’s sales that don’t exist, maybe inventory,

 whatever that lie may be.” [Ex. G at 96:19-25, App. at 1190.] The fact that one of the things

 being covered up is the fact that the fraudster is running a Ponzi scheme, does not mean that the

 defendant can take in good faith when it knows the transferee is lying about other aspects of its

 enterprise. Under the Court’s formulation of the good-faith question, Gary Magness could have

 confessed in open court to receiving the transfers knowing that Stanford was engaged in a fraud

 as long as he denied knowing that what Stanford was doing amounted to a “Ponzi scheme.” That

 cannot be the law, nor is there any reason to think that it is.

                One of the core issues that Stanford lied about to the public in October 2008 was

 the liquidity of the bank. [See, e.g., Ex. G at 113:21-114:2, App. at 1207-08 (testimony of



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 Receiver’s forensic accountant).]        And the evidence offered by the Receiver’s forensic

 accountant, Karyl Van Tassel, established that the Magness Defendants had actual, subjective

 awareness of that lie:

                Q.        So at this point in time, if the public story is everything’s
                          fine, you want to redeem, redeem, you want a loan, have a
                          loan, you want interest, have interest, the balance sheet is
                          great, if that’s the public story and the private story is you
                          cannot redeem, not possible, we need the asset on our
                          balance sheet, what are those facts setting forth about
                          whether the bank is lying to everybody about its financial
                          condition?

                A.        Well, it is lying to everybody. What Tom Espy and the
                          Magness parties now have in front of them is this very
                          specific difference between what they’re telling the public
                          and what the bank is telling them privately. And so that lie
                          is being made to cover up the balance sheet problem. It’s
                          — they told the Magnesses. The people who don’t know
                          are the general investors.

 [Ex. G at 171:17-172:6, App. at 1265-66; see also id. at 165:3-169:1, App. at 1259-63

 (Receiver’s forensic accountant testifying that, by the Magness Defendants’ written, sworn

 admission, lies concerning balance sheet were disclosed to the Magness Defendants in October

 2008); 180:10-181:17, App. at 1274-75 (Receiver’s forensic account testifying that Magness

 Defendants’ broker and close personal friend of Gary Magness was exposed by October 11, 2008

 to SIB continuing to lie publicly about its financial strength after privately being made aware of

 SIB’s liquidity problems).]

                By instructing the jury that the Magness Defendants needed to know that Stanford

 was concealing the existence of a specific criminal act known as a “Ponzi scheme,” the Court

 dramatically lowered the Magness Defendants’ burden of proof and allowed them to argue that

 they had good faith despite having actual knowledge that the Bank was in the midst of a liquidity

 crisis and that the Bank was lying to the public about it. Under these circumstances, the Magness


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 Defendants sounded no alarm bells and conducted no investigation. Instead, they grabbed as

 much money as they could and helped Stanford hide his fraud by leaving their CDs on the books

 of his fake Bank. [See Ex. G at 207:5-208:25, App. at 1301-02 (testimony of Receiver’s forensic

 accountant).] That is the opposite of good faith, and the jury was entitled to be instructed

 properly on the law so that they could make an appropriate determination of whether the

 Magness Defendants had met their burden to show that they lacked actual and inquiry notice of

 the fraudulent nature of their transaction with Stanford.

                By lowering the Magness Defendants’ burden of proof, the Court’s erroneous

 instruction substantially prejudiced the Receiver. If there were any doubt about that fact, it is

 erased by a review of the Magness Defendants’ closing argument. Instead of having to come to

 grips with the fact that the Magness Defendants’ were aware of Stanford’s lies, the Magness

 Defendants’ counsel focused on the assertion that only a few people knew that the Stanford fraud

 was a Ponzi scheme:

                We also know the evidence ranging from Ms. Van Tassel to Mr.
                Janvey is that only a handful of people knew that this was a Ponzi
                scheme. And it is quite literally a handful. It is Mr. Stanford; Mr.
                Davis; Ms. Pendergest-Holt, sometimes referred to as Ms. Holt;
                Mr. Kurtz, who we didn't hear a lot about; and Mr. Lopez. Those
                are the five individuals who knew what was going on.

 [Ex. H, Trial Tr. (Vol. 7) at 26:6-12, App. at 1377.; see also id. at 30:9-15, App. at 1381 (“The

 second thing he contends is if that reasonable person with those facts had looked further, they

 would have been able to uncover that this was, in fact, a Ponzi scheme.”).]

                The Magness Defendants’ counsel was also able to brush aside the critical fact

 that the Magness Defendants knew of Stanford’s liquidity problems by arguing that the person

 who disclosed those problems claimed to be unaware that Stanford was engaged in a Ponzi

 scheme:


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                And we know that [Juan Rodriguez Tolentino] testified he didn’t
                know anything about the Ponzi scheme, and there’s no evidence
                that he knew anything about the Ponzi scheme or could have
                shared anything with the Magness parties about the Ponzi scheme.

 [Ex. H at 27:21-24, App. at 1378.]

                Thus, as a direct result of the Court’s legal error, the Magness Defendants were

 able to erroneously leave the jury with the impression that the central evidence in the case was

 irrelevant to their good faith determination. That is, that the Defendants’ actual knowledge of

 Stanford’s lie about the Bank’s liquidity problems was somehow irrelevant to good faith. But as

 the evidence showed at trial, that lie is at the very heart of a financial fraud like the Stanford

 fraud:

                Q.      In terms of continuing to run a fraud like this, how
                        important is it to keep quiet about, cover up the fact that
                        you have a balance sheet problem?
                A.      It’s very important. I mean, what they have to do is be
                        presenting to the public that everything’s fine, they create
                        literature that shows that they’re doing well, but inside
                        there’s something different happening. And that’s kind of
                        the don’t-let-them-see-you-sweat kind of mentality. Behind
                        the scenes something is happening that isn’t—that is not
                        good, but to the public they’re presenting a different
                        persona.

 [Ex. G at 141:6-15, App. at 1235 (testimony of Receiver’s forensic accountant).]

                The Court’s error was further compounded by the fact that the term Ponzi scheme

 was never defined by the Court, thus leaving the jury with inadequate guidance as to what

 constitutes a Ponzi scheme for purposes of making the determination of when one has been, or

 could be, revealed to exist.

                If the Court had simply instructed the jury according to the appropriate legal

 standard, the jury could have determined whether the Magness Defendants had met their burden

 to show good faith notwithstanding the Receiver’s evidence. And, of course, the Magness


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 Defendants did not even ask the Court to give the erroneous instruction, [see Docs. 178, 185,

 217], though they ultimately acquiesced in and exploited the error, as described above.

                   Because the Court’s instruction was erroneous, the Receiver objected to the

 instruction and requested a substantially correct instruction, [Doc. 252 at 2-3], the erroneous

 instruction prejudiced the Receiver, and the prejudice could have been cured by giving the

 Receiver’s proposed instruction, the Court should order a new trial.

 II.      The Court committed plain error by giving prejudicial instructions to the jury and
          by issuing a jury charge that the Court admitted was confusing.

                   In presenting the good-faith question, Questions No. 1.a and 1.b of the jury charge

 instructed the jury to answer “Yes” or “No” for “no actual notice” and for “no inquiry notice,”

 respectively. [Doc. 256 at 7.] 1 In verbal instructions to the jury, the Court acknowledged that its

 formulation of the good-faith question was confusing and that neither the Receiver nor the

 Magness Parties approved of it. [Ex. H at 6:17-20, App. at 1357 (“I’m in an odd circumstance

 here where I think pretty much all of the lawyers don’t like the way I submitted 1-A and 1-B.

 They think it’s confusing. And I understand that. I acknowledge that.”); Doc. 252 at 1 (objecting

 to questions as ambiguous).]

                   In an apparent attempt to resolve this confusion, the Court twice advised the jury

 to focus on how the parties wanted the questions answered:

                   If you get lost in double or triple negatives, always remember [the
                   Magness Parties are] looking for a yes and the Receiver is looking
                   for a no.

                   ....


 1
   Receiver objected to the confusing and ambiguous jury instruction in its Objection to the Court’s Charge to the
 Jury. [See Doc. 252 at 1]; see Bender v. Brumley, 1 F.3d 271, 277 (5th Cir. 1993) (holding that error is preserved for
 appeal if party objects to jury charge “prior to the time when the court invites on-the-record objections to the
 charge.”).



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                If you get tangled up in the negatives, always remember the
                Magness parties with the burden of proof are looking for a yes, and
                the Receiver is looking for a no.

 [Ex. H at 7, App. at 1358.]

                The undisputedly confusing presentation all but guaranteed that the jury would in

 fact “get tangled up in the negatives,” and, following the Court’s instruction, would answer

 “Yes” or “No” based on the juror’s identification with a Party rather than the juror’s analysis of

 the evidence. In the midst of this instruction, the Court also admonished the jury not to “decide

 who you think should win and then answer the questions accordingly” and to “answer each

 question based on the evidence.” [Ex. H at 7:4-8, App. at 1358.] But this instruction simply

 conflicts with the Court‘s remember-which-party-wants-which-answer instruction, and does not

 change the fact that the Court instructed the jury to take an improper approach to its analysis of

 the evidence and only added to the sense of confusion.

                Under Texas law, which Receiver believes is persuasive here, it is plain error for

 the judge to advise the jury of the “legal effect and result of their answers.” Ex Parte Fisher, 206

 S.W.2d 1000, 1004 (Tex. 1947); Maddox v. Denka Chem. Corp., 930 S.W.2d 668, 671 (Tex.

 App.—Houston [1st Dist.] 1996, no pet.). This type of shortcut is neither necessary nor proper

 to explain the jury charge questions or the evidence, and it impermissibly encouraged the jury to

 answer the questions based on who they wanted to win at trial. In this case, the Court influenced

 the jury to truncate their analysis of the facts and to answer the questions so as to pick their

 preferred party to win.

                Under Fifth Circuit law, jury instructions “should have ‘no tendency to confuse or

 mislead the jury with respect to the applicable principles of law.’” Ganz v. Lyons P’ship, L.P.,

 961 F. Supp. 981, 996 (N.D. Tex. 1997) (quoting Roberts v. Wal-mart Stores, Inc., 7 F.3d 1256,



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 1258 (5th Cir. 1993)) (internal quotation marks omitted). Where the charge as a whole leaves

 the court with substantial and ineradicable doubt whether the jury has been properly guided in its

 deliberations the court should consider a new trial.” Bender v. Brumley, 1 F.3d 271, 276-77 (5th

 Cir. 1993) (internal quotation marks and brackets omitted). In this case, not only did the Court

 improperly advise the jury of the legal effect of its answers on the parties, the Court also drafted

 the jury charge that the critically important first question was unnecessarily confusing.

                The confusing jury-charge instruction and erroneous verbal instructions are

 substantially prejudicial to the Receiver and merit a new trial.

 III.   The Court erroneously admitted evidence from the defense witnesses concerning
        Mr. Magness’s state of mind.

                The Court erred by admitting evidence from numerous defense witnesses

 concerning Gary Magness’s state of mind. As a defendant himself and as the principal decision-

 maker for all of the Magness Defendants, [Ex. C, Trial Tr. (Vol. 2) at 107:1-25, App. at 146

 (Gary Magness testimony that SIB CD decisions were left to him)], Gary Magness’s state of

 mind was exceptionally important to the determination of the good faith issue. At the pretrial

 conference, the Court stated that the Receiver’s expert witnesses would be precluded from

 testifying as to what was in the head of another witness. [Ex. A, Pretrial Conf. Tr. at 25: 9-11,

 App. at 26 (“What I don't want is the clairvoyant witness saying, ‘From this I can tell what was

 in their heads.’”).] And of course, that limitation makes sense because testimony from one

 witness about what was in the head of another person is classic speculation and hearsay and

 inadmissible under Federal Rules of Evidence 602 and 802.          See, e.g., Fed. R. Evid. 602, 802;

 see also Bellard v. Gautreaux, 675 F.3d 454, 461 (5th Cir. 2012); Washington v. Dep’t of

 Transp., 8 F.3d 296, 300 (5th Cir. 1993) (“Under the Federal Rules of Evidence, speculative

 opinion testimony by lay witnesses—i.e., testimony not based upon the witness’s perception—is


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 generally considered inadmissible.”).

                 Nevertheless, the Court turned around and allowed numerous defense witnesses to

 tell the jury what they thought was in Gary Magness’ head. The Defendants’ witnesses were

 permitted to testify about what Gary Magness knew or thought or believed about Stanford and

 about his explanations for why he withdrew his money from Stanford. [See Ex. D, Trial Tr.

 (Vol. 3) at 162:24-163:3, App. at 462-63 (what Gary Magness thought of Liberty stock); id. at

 164:10-23, App. at 464 (why Gary Magness got money out of Stanford); Ex. E, Trial Tr. (Vol. 4)

 at 122:10-18, App. at 673 (Gary Magness’s alleged lack of knowledge of the Ponzi scheme);

 Doc. 235 at 9, 18 (Gary Magness’s alleged lack of knowledge of suspicious Stanford referral

 fees); Doc. 235 at 19-20 (Gary Magness’s alleged lack of knowledge of the Ponzi scheme); Doc.

 235 at 25-26 (Gary Magness’s alleged belief that Stanford was a real business); Doc. 242 at 291-

 92 (that having Stanford described as a hedge fund was not a revelation to Gary Magness in

 2008)].

                 The cumulative effect of this improper testimony undoubtedly gave the jury an

 erroneous impression about the strength of the evidence in support of the Magness Defendants’

 contention that Gary Magness lacked actual knowledge, or that he did not suspect or have reason

 to suspect, that Stanford was engaged in fraud. Cf. Martin v. Texas Employers’ Ins. Ass'n, 193

 F.2d 645, 646 (5th Cir. 1952) (“The cumulative effect of the errors committed, we think, entitle

 the appellant to a new trial.”); accord Anchor Wall Sys v. Rockwood Retaining Walls, Inc., 610 F.

 Supp. 2d 998, 1016 (D. Minn. 2009) (a new trial should be granted under Federal Rule of Civil

 Procedure 59 where the “cumulative effect” of trial court’s errors “is to substantially influence

 the jury’s verdict.”)




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 IV.    The Court erred by admitting the deposition testimony of James Davis and Juan-
        Rodriguez Tolentino.

                Over the Receiver’s objection, the Court allowed the Magness Defendants to offer

 into evidence the deposition testimony of Juan Rodriguez-Tolentino and James Davis. Each of

 the depositions was taken in a prior, unrelated action, and no rule permitted the use of those

 depositions in this case. The Magness Defendants could have sought the deposition of either of

 these witnesses at any time during the discovery period, but they chose not to do so. Moreover,

 the Magness Defendants sought to re-open the discovery period to obtain the depositions of Mr.

 Rodriguez-Tolentino, [Doc. No. 112 at 20], and the Court denied that request. [Doc. No. 140.]

 Admission of these depositions was improper and substantially prejudiced the Receiver.

                James Davis and Juan Rodriguez-Tolentino were well known to the Magness

 Defendants long before this lawsuit was even filed. The Magness Defendants interacted directly,

 both by phone and in person, with Mr. Rodriguez-Tolentino on multiple occasions during the

 time period at issue in this lawsuit. Mr. Davis was the Chief Financial Officer of Stanford

 International Bank, and he met by phone with the Magness Defendants at least once during the

 time period at issue in this lawsuit. If the Magness Defendants believed that these individuals

 had admissible testimony that would be helpful to their case, the Magness Defendants had no

 reasonable excuse for having failed to seek their depositions during the discovery period.

                Further, in September 2016, the Magness Defendants asked the Court to re-open

 discovery, claiming that new document production made it necessary for them to take eight

 additional depositions, including the deposition of Mr. Rodriguez-Tolentino. [Doc. 112 at 18-

 24.] The Court permitted four two-hour depositions of Ralph Janvey, Karyl Van Tassel, Jason

 Green, and Tom Espy, but it denied the Magness Defendants’ request to re-open discovery in

 any other respect. [Doc. 140.] The Magness Defendants’ attempt to use the depositions of


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 witnesses from other cases was plainly an effort to end-run the Court’s order, and should not

 have been allowed.

                Additionally, each of the witnesses had a substantial connection with the Magness

 Defendants during the time period at issue in the case. The playing of testimony from these

 individuals at trial undoubtedly left the jury wondering why none of the individuals was

 testifying concerning the Magness Defendants specifically. Thus, the use of the collateral and

 irrelevant testimony from these witnesses only served to confuse the issues in this case and

 mislead the jury.

                The prejudice is more evident based on the way the case was argued. In asserting

 their good faith, the Magness Defendants relied heavily on the testimony of James Davis and

 Juan Rodriguez-Tolentino. The Magness Defendants’ counsel made it a core piece of his closing

 what those defendants knew and what they disclosed or were able to disclose to the Magness

 Defendants. [Ex. H at 26:6-28:17, 33:10-21, App. at 1377, 1384 (closing argument).] Of course,

 neither witness was ever asked about what they disclosed to the Magness Defendants,

 undoubtedly leaving the jury with the impression that they had nothing to offer on the subject.

                The testimony of Mr. Davis and Mr. Rodriguez-Tolentino should have been

 excluded for the additional reason that a deposition taken in an earlier proceeding is inadmissible

 where the parties in the earlier proceeding are different, the issues are not substantially the same,

 and there was no motive in the earlier action to cross-examine the deponent on the issues

 involved in the present suit. See Jefferson Amusement Co. v. Lincoln Nat. Life Ins. Co., 409 F.2d

 644, 651 (5th Cir. 1969). The burden of showing that the deposition is admissible is on the party

 seeking to enter the deposition. See Allgeier v. United States, 909 F.2d 869, 876 (6th Cir. 1990)

 (citing Jauch v. Corley, 830 F.2d 47, 50 (5th Cir. 1987)).



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                If the prior suit and the current suit have different causes of action, the issues will

 be different enough to preclude the admissibility of the deposition. See Jefferson Amusement,

 409 F.3d at 651 (holding deposition regarding insured’s drug use taken in divorce action not

 admissible in subsequent action to recover insurance policy proceeds); Powertrain, Inc. v. Ma,

 88 F. Supp. 3d 679, 690 (N.D. Miss. 2015) (holding deposition of company’s employees taken in

 intellectual property dispute not admissible in subsequent action involving EPA violations).

 Prior depositions are also not admissible where the subsequent suit raises issues not present in

 the earlier suit. See Cahn v. Nicholas, 408 F.2d 1, 4 (5th Cir. 1969) (depositions taken before

 alter ego petition filed not admissible in subsequent proceedings); Hub v. Sun Valley Co., 682

 F.2d 776, 777-78 (9th Cir. 1982) (deposition taken in state court action that concerned events

 subsequent to alleged retaliation not admissible in federal retaliation case).

                Even where one party is the same, “[d]ifferent parties and different issues are

 crucial circumstances that inevitably must alter the substance of the deposition taken.” Alamo v.

 Pueblo Intern. Inc., 58 F.R.D. 193, 195 (D.P.R. 1972). The nature of the deposition develops out

 of the individual circumstances of each case, and a change in either party or issues will alter the

 motive to develop testimony. Id.

                None of the cases in which the prior depositions were taken met the requirements

 to permit depositions taken in those cases to be played in this case. Mr. Davis was deposed in an

 insurance coverage dispute. Certain Underwriters at Lloyd’s of London v. Janvey, Case No.

 3:09-CV-1736. Mr. Rodriguez-Tolentino was deposed in a fraudulent transfer case asserted

 against a member of Stanford’s International Advisory Board. Janvey and Official Stanford

 Investors Committee v. Giusti, Case No. 3:11-CV-292. Mr. Rodriguez-Tolentino was deposed a

 second time, with the second deposition involving a claim that Osvaldo Pi breached his fiduciary



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 duty as a Stanford executive. Janvey and Official Stanford Investors Committee v. Bogar, et al.,

 Case No. 3:14-cv-03635.       None of the cases involved a fraudulent transfer claim against a

 Stanford investor, nor did they have anything to do with the Magness Defendants specifically.

 Indeed, none of the Magness Defendants are even mentioned in any of the deposition transcripts.

                This Court decided that the transfers at issue are fraudulent as a matter of law.

 [Doc. 196.] Thus, the only issue at trial concerning the Receiver’s fraudulent transfer claims

 against the Magness Defendants is good faith. Although good faith was presented as a defense

 in the Giusti case, the facts and circumstances of Mr. Giusti’s good faith defense have little

 resemblance to the facts concerning the Magness Defendants’ good faith defense. Mr. Giusti

 was a consultant and member of the Stanford International Advisory Board, not an investor, and

 there is no evidence that Mr. Giusti ever interacted with the Magness Defendants.

                Moreover, the question of whether the Magness Defendants acted in good faith

 ultimately comes down to the Magness Defendants’ actual or constructive knowledge, which

 includes what facts the Magness Defendants knew that should have excited their suspicions

 about the transfers being challenged. See Order at 8, Janvey v. Alguire, No. 3:09-CV-0724-N

 (December 21, 2016). The depositions taken in the Giusti case shed no light on that issue

 because the deponents were never asked about the transfers to the Magness Defendants. The

 Receiver had no motivation to develop testimony about any transfers to the Magness Defendants

 in the Giusti case, let alone a motivation similar enough to justify admission of the depositions

 taken in the Giusti case.

                Further, the Receiver’s incentive to contest the good faith issue in Giusti was not

 the same as it is in this case. The Receiver could have prevailed (and in fact still may prevail as

 the Giusti case remains pending) by defeating the reasonably equivalent value element of Mr.



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 Giusti’s fraudulent transfer defense. With respect to Mr. Rodriguez-Tolentino, at the time his

 deposition was taken, Mr. Giusti had identified in interrogatory responses that he had

 “knowledge of the services and the value of the services Mr. Giusti rendered as a consultant.”

 [Doc. 203-1, Ex. A, at 4.] In the Rodriguez-Tolentino deposition, the Receiver’s counsel advised

 Mr. Rodriguez-Tolentino that “we’re not here today about the receiver or the lawsuit about you.

 We’re instead here about the receiver’s lawsuit against Mr. Luis Giusti.” [Doc. 203-1, Ex. B, at

 10:17-21.] The testimony in Giusti was not taken with regard to the Magness Defendants (nor

 any other investor), and the Receiver had no motive to fully develop testimony with regard to the

 actual or constructive knowledge of any person or entity other than Mr. Giusti. Accordingly, it

 was unfair to admit in this case testimony on the basis that it may have had some bearing on the

 good faith issue in Giusti.

                The Magness Defendants asked the Court to admit the depositions of Mr.

 Rodriguez-Tolentino and Mr. Davis based purely on the fact that the Receiver was represented at

 the depositions and that the depositions had something to do with the Stanford fraud. But in a

 receivership with litigation involving hundreds of defendants, and hundreds of witnesses, such a

 ruling would mean that any deposition in which the Receiver asked questions could be offered

 by any defendant in any case. Under such a rule, at any such deposition, the Receiver’s counsel

 would be compelled to fully explore every single issue, with every deponent, that might

 conceivably be germane to any one of hundreds of cases. Such a rule would be improvident, and

 it is not supported by any logic or legal authority.

                Because the Court erred in overruling the Receiver’s objection and admitting the

 deposition testimony of Juan Rodriguez-Tolentino and James Davis, [Doc. 202 (objections); Ex.

 E at 65:18-66:10, App. at 616-17 (overruling objections)], and further because that error



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 substantially prejudiced the Receiver and confused the jury, the Court should grant the Receiver

 a new trial in which such evidence is excluded.

 V.      During voir dire, the Court improperly struck a juror for cause sua sponte.

                 During voir dire, the Court struck Juror No. 12 for cause over the Receiver’s

 objection that she had not disqualified herself. Doing so was error that, particularly when taken

 cumulatively with additional error, mandates a new trial in this case.

                 During voir dire, Juror No. 12 indicated that she had previously been invested in a

 company that “bottomed out” and where certain investors “blacked us out, so we couldn’t get our

 benefits as they did . . . [and] we could not get out at substantial amounts what we had, which

 was totally devastating to a whole lot of people.” [Ex. B at 68:9-69:23, App. at 35-36.] Juror

 No. 12 stated that her situation was “not the same definition as to what’s going on here,” but the

 Court suggested that situation “certainly has some similarities” and asked “Do you think that

 circumstance would affect your ability to be fair?” [Id.] Juror No. 12 did not conclusively say

 that she could not be fair, but stated, “I’ll say it had a big impact on me, so I don’t know if I

 could totally be honest, because I don’t know what would be mentioned, you know, what would

 be said to relate to, you know, what I saw in the past. So I think that it would have some

 bearings on it, a lot of bearings on it really.” [Id.]

                 Based only on this equivocal and contingent statement and without motion by any

 party, the Court excluded Juror No. 12 for cause. Though a trial judge has discretion to exclude

 jurors for cause, it is improper as a matter of federal law for the trial court to exclude jurors who

 hold “‘some impression or opinion as to the merits of the case’ but [are] able to ‘lay aside his

 impression or opinion and render a verdict based on the evidence presented in court.’” United

 States v. Joseph, 892 F.2d 118, 130 (D.C. Cir. 1989); see United States v. Tucker, 137 F.3d 1016,

 1029 (8th Cir. 1998) (trial court should not exclude juror for cause unless there is “‘actual

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 partiality growing out of the nature and circumstances of [the] particular case.’”). Such error is

 compounded where neither party has moved to strike the juror and, on the contrary, a party

 objects to the juror’s exclusion by the court. This proposition harmonizes with Texas law, which

 provides that a trial judge has no authority on its own motion to excuse a prospective juror for

 cause unless that juror is “absolutely disqualified.” See Denton v. Quarterman, No. 4:06-CV-

 282-Y, 2007 WL 846516, at *5 (N.D. Tex. Mar. 21, 2007) (“[A]s a matter of state law, a trial

 court should not, on its own motion, excuse a prospective juror for cause unless the juror is

 absolutely disqualified from serving on the jury” under relevant state statute); Alvarado v. State,

 822 S.W.2d 236, 239 (Tex. App.—Houston [14th Dist.] 1991, pet. dism’d) (holding same).

                 As the Receiver stated in objecting to the dismissal, Juror No. 12 “didn’t know

 whether her experience would match what she would hear from the evidence or would be totally

 different” and did not disqualify herself or state she would be unable to follow the Court’s

 instruction to decide the case on the evidence.” [See Ex. B at 71:3-21, App. at 37.] Juror 12’s

 statements did not indicate she was so biased as to be unable to render an impartial verdict or

 otherwise render her “absolutely disqualified.” This cumulative error contributed materially the

 overall un fairness of the trial.

 VI.     The Court’s sua sponte reconsideration and grant of summary judgment on unjust
         enrichment was erroneous and precluded submission of crucial fact questions to the
         jury.

                 In addition to avoidance of the transfers to the Magness Defendants under

 TUFTA, the Receiver sought disgorgement under the doctrine of unjust enrichment.               The

 Magness Defendants moved for summary judgment on the Receiver’s unjust-enrichment claims,

 and the Court initially denied that motion. [See Docs. 123, 196.] The Magness Defendants did

 not seek reconsideration of that ruling. But at the pretrial conference just four days before trial,

 the Court announced that upon reconsideration, it would grant summary judgment. [Ex. A at

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 4:18-6:14, App. at 5.] The Court also granted the Magness Defendants’ motion to reorder trial

 presentation so that they would present their case first. [Ex. A at 7:15-21, App. at 8.] With these

 rulings, the Court erroneously deprived Receiver of submission of the fact-intensive unjust-

 enrichment issue to the jury and forced him to rework his trial strategy just days before trial.

                  The Court’s reason for granting summary judgment is its belief that “on these

 facts where the Magness Defendants essentially just got their own money back, there is no unjust

 enrichment as a matter of law,” and that “the Texas Supreme Court under these facts would [not]

 extend any common law claim for unjust enrichment to encompass the Receiver’s theory.” [Ex.

 A at 4:25-5:3, 5:15-17, App. at 5-6.] This rationale is based on an unfounded interpretation of

 Texas unjust-enrichment law is unfounded, relies on erroneous and unsupported presumptions

 regarding central fact issues, and ignores the evidence in this case that would support a finding of

 unjust enrichment.

                  Under Texas law, a party is unjustly enriched when he obtains money that in

 equity and good conscience he ought not to keep. See Nacogdoches Heart Clinic, P.A. v.

 Pokala, No. 12-11-00133-CV, 2013 WL 451810, at *19 (Tex. App.—Tyler Feb. 6, 2013, pet.

 denied) (mem. op.); see also Court’s Charge to the Jury [Doc. 159 at 10] in Janvey v. Romero,

 Case No. 3:10-CV-0297-N (N.D. Tex., filed Feb. 15, 2011) (adopting similar language in jury

 charge). “‘A party may recover under the unjust enrichment theory when one person has

 obtained a benefit from another by fraud, duress, or the taking of an undue advantage.’” Harris

 Cty. v. MERSCORP, Inc., 791 F.3d 545, 561 (5th Cir. 2015) (quoting Heldenfels Bros. v. City of

 Corpus Christi, 832 S.W.2d 39, 41 (Tex. 1992)). Recovery under unjust enrichment is not

 dependent on wrongdoing by the opposing party. See Nacogdoches Heart Clinic, 2013 WL

 451810 at *19.



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                Further, as set forth in his Response to the Magness Defendants’ Motion for

 Summary Judgment, TUFTA expressly provides that “the principles of law and

 equity . . . supplement its provisions,” and federal courts have routinely recognized that unjust

 enrichment claims can be brought alongside fraudulent-transfer claims under the applicable

 version of the Uniform Fraudulent Transfer Act. [Doc. 145 at 29-31 (citing TEX. BUS. & COM.

 CODE § 24.011 and case law).] This Court has similarly recognized that a plaintiff may bring a

 claim for unjust enrichment alongside a TUFTA claim. See Sourcing Mgmt., Inc. v. Simclar,

 Inc., 118 F. Supp. 3d 899, 919-20 (N.D. Tex. 2015) (denying motion to dismiss TUFTA and

 unjust-enrichment claims); see also Taylor III v. Goucher, No. 1:14-CV-965-LY, 2015 WL

 12746119, at *7 (W.D. Tex. July 23, 2015) (recommending denial of motion to dismiss both

 TUFTA and unjust-enrichment claim ).

                As the Court acknowledged at the pretrial hearing, unjust enrichment “requires a

 fact-intensive determination by the Court.” Mayo v. Hartford Life Ins. Co., 220 F. Supp. 2d 714,

 776 n.224 (S.D. Tex. 2002), aff’d, 354 F.3d 400 (5th Cir. 2004) (citing Young v. Fontenot, 888

 S.W.2d 238, 242-43 (Tex. App.—El Paso 1994, writ denied); [Ex. A at 4:24-25, App. at 5 (“[A]s

 the Receiver correctly points out unjust enrichment claims are factually dependent . . . .”).] But

 the Court admitted, “I don’t know the facts as well as you all do. I have some idea about the

 facts, but I don’t know them as well as you do.” [Ex. A at 3:19-21, App. at 4.]

                This evidence—along with the fact of the Ponzi scheme itself—creates a fact

 issue as to whether the Magness Defendants “just got their own money back,” as the Court

 presumed. [See Doc. 225 at 13 (Joint Pretrial Order).] Rather, the evidence shows that they took

 advantage of their status as a top SIB investor and carried out a plan to extract as much money as

 possible from an insolvent SIB to avoid dealing with the effects of insolvency and receivership.



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            •   In October 2007, Mr. Knudson suggested that the SIB CDs might be at risk and
                formulated a two-step plan to (1) borrow loans from Stanford and (2) offset the
                Magness Defendants’ CD balances against any such loans to avoid exposure to
                that risk. [Ex. D at 220:4-221:16, App. at 520-21 (Knudson testimony).]

            •   When SIB refused to redeem the Magness Defendants’ CDs in October 2008,
                they instead took out $88.2 million papered as loans. [Ex. D at 217:6-217:12,
                226:6-226:15, App. at 517, 526; Ex. G at 114, App. at 1208 .] At that time, the
                Magness Defendants were acutely aware of the risk and exposure to the SIB CDs.
                [Ex. I, App. at 1429; Ex. J, App. at 1435; Ex. D at 229:20-229:25, App. at 529.]

            •   Instead of paying off the loans in cash, the Magness Defendants had SIB offset
                $25 million with “interest” accrued from their CDs. [Ex. I, App. at 1429; Ex. J,
                App. at 1435; Ex. G at 197:12-19, App. at 1291 ).] The Magness Defendants used
                this transaction to seek a tax advantage. [Ex. I, App. at 1425-29; Ex. J, App. at
                1431-35.]

            •   In December 2008, the Magness Defendants were advised that a loan would not
                offset the CDs and that a receiver might be appointed for SIB. [Ex. D at 230:12-
                232:24, App. at 530-32 (Knudson testimony, admitting receivership implies fraud
                and bankruptcy).]

                The Court’s erroneous last-minute reversal prejudiced the Receiver by depriving

 him of the opportunity to seek a jury finding on these fact issues and the opportunity to present

 additional evidence supporting his claim. In granting summary judgment, the Court stated that

 any resulting error “would be harmless because I don’t think there’s any possible circumstance

 where the Receiver could lose on its TUFTA claim yet prevail on its unjust enrichment claim.”

 [Ex. A at 5:18-22, App. at 6.] This assertion ignores that the test for good faith under TUFTA

 and the question of whether the Magness Defendants were unjustly enriched are two distinct

 questions determined by different standards.         Where good faith is a statutory exception

 determined under a specific judicial test (i.e., whether the Magness Defendants were on inquiry

 of the fraudulent nature of the transfers, see GE Capital, 754 F.3d at 312), unjust enrichment is

 determined by the more general questions of whether the Magness Defendants took an undue

 advantage and whether they should in equity and good conscience keep the funds or return them

 to the Receivership for the benefit of all investors. These are questions for a jury.

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                The Receiver is further prejudiced by the fact that based on the dismissal of the

 unjust-enrichment claims, the Court reversed the trial order. As a result, the Receiver was forced

 to rework his trial strategy in only a matter of days. Additionally, the re-ordering of the trial

 presentation deprived the jury of hearing the full context of the Stanford fraud prior to the

 Magness Defendants offering their good faith evidence, which necessarily interfered with the

 jury’s understanding of the issues. The Receiver respectfully requests that the Court grant a new

 trial so that his unjust-enrichment claim can be submitted and without undue and unfair surprise.

                 ALTERNATIVE MOTION TO AMEND OR CORRECT THE JUDGMENT

                In the further alternative to the alternative request for new trial, the Receiver

 requests that the Court correct the judgment to reflect that the Court entered partial summary

 judgment for the Receiver on his claim to recover the Magness Defendants’ net winnings.

                As discussed in the Receiver’s Renewed Motion, the Court granted summary

 judgment in favor of the Receiver concerning the $8,515,957.14 in “net winnings” that the

 Magness Defendants received. [See Doc. 22-21 (Order of Partial Summary Judgment).] The

 Fifth Circuit affirmed the Court’s award, see Janvey v. Brown, 767 F.3d 430 (5th Cir. 2014), and

 the Magness Defendants returned their net winnings to the Receiver pursuant to those

 rulings. [See Doc. 225 at 6, n.1 (Joint Pretrial Order).]

                In its Final Judgment, the Court ordered “that Plaintiff takes nothing by his claim

 against Defendants, and the Court dismisses the claims with prejudice.” [Doc. 269.] That order

 is inconsistent with the Court’s partial summary-judgment order on the net-winner issue, which

 the Court is bound to uphold the as law of the case that has been affirmed by the Fifth Circuit.

                To avoid any inaccuracy in the judgment with respect to the Receiver’s rights to

 the net winnings, the Receiver requests that the Court correct the judgment to reflect that the



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 Receiver prevailed on his fraudulent transfer claim in at least the amount of the net winnings of

 $8,515,957.14. See FED. R. CIV. P. 59(e), 60(a).

                                      CONCLUSION & PRAYER

                For the foregoing reasons, and in the alternative to his request for entry of

 judgment as a matter of law as set forth in his Renewed Motion, the Receiver requests that the

 Court grant a new trial and reconsider its summary judgment ruling concerning unjust

 enrichment. In the further alternative, the Receiver requests that the judgment be corrected to

 reflect that the Receiver obtained judgment on his claim to recover net winnings. The Receiver

 also requests such other and further relief to which he may be justly entitled.




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 Dated: October 12, 2017                                Respectfully submitted,

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                                     CERTIFICATE OF SERVICE


                On October 12 2017, I electronically submitted the foregoing document with the
 clerk of the court of the U.S. District Court, Northern District of Texas, using the electronic case
 filing system of the Court. I hereby certify that I will serve all parties, through their counsel of
 record, electronically, or by other means authorized by the Court or the Federal Rules of Civil
 Procedure.


                                                       By: /s/ Kevin M. Sadler
                                                       Kevin M. Sadler




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